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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


UNITED STATES OF AMERICA                       §
                                               §

v.                                             §           CRIMINAL NO. 4:23-cr-00165-1

                                               §
                                               §
DANIEL BYRD                                    §


              ORDER ON UNOPPOSED MOTION FOR CONTINUANCE


       Daniel Byrd’s Unopposed Motion for Continuance is hereby:

                                  GRANTED / DENIED.

      A new scheduling order will be issued.



SIGNED this the _____ day of _________________, 2023.


                                                   United States District Judge
